     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 1 of 14




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                     IN THE UNITED STATES DISTRICT COURT

                     DISTRICT OF UTAH, CENTRAL DIVISION


LARADA SCIENCES, INC., a Delaware            DEFENDANT’S OPPOSITION TO
Corporation,                                 PLAINTIFF’S MOTION FOR LEAVE
                                             TO FILE FIRST AMENDED
            Plaintiff/Counterdefendant,      COMPLAINT, TO ADD DEFENDANTS,
v.                                           AND TO LIFT STAY

PEDIATRIC HAIR SOLUTIONS                     Case No.: 2:18-cv-00551-RJS-PMW
CORPORATION, a North Carolina
Corporation,                                 Chief Judge Robert J. Shelby
                                             Chief Magistrate Judge Paul M. Warner
            Defendant/Counterclaimant.
       Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 2 of 14




                                               TABLE OF CONTENTS


I.      INTRODUCTION .............................................................................................................. 1

II.     BACKGROUND ................................................................................................................ 1

III.    LEGAL STANDARD......................................................................................................... 3

IV.     ARGUMENT ...................................................................................................................... 4

        1.        Larada has failed to satisfy the Rule 16 good cause standard................................. 4

        2.        This Court should not allow Larada to benefit from making new
                  allegations of which it had knowledge of long before the deadline lapsed. ........... 5

        3.        Even if Larada could show good cause why it failed to meet the deadline,
                  the Court should also deny leave to amend under Rule 15 based on undue
                  delay, serious prejudice, and the futility of the proposed claims. ........................... 9

V.      CONCLUSION ................................................................................................................. 10




                                                                  i
      Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 3 of 14




                                   I.      INTRODUCTION
        Plaintiff Larada Sciences, Inc.’s request to add new claims and new parties should be

denied because Larada knew of the underlying alleged conduct in support of its proposed claims

prior to the deadline to amend. By its proposed amended complaint, Larada unnecessarily and

improperly seeks to further prolong this lawsuit. While the purported impetus for Larada’s

amended complaint is its claimed new discovery of the use and marketing of a competing heated

air device, a review of Larada’s own court filings over the last two years and discovery

exchanged long ago, reveals that these “new” facts are old news. Larada has failed to show good

cause for seeking modification of the scheduling order.

                                    II.     BACKGROUND
        Larada initiated this action on July 11, 2018, against Defendant Pediatric Hair Solutions

Corporation (“PHS”). 1 Larada asserted claims of breach of contract, breach of implied covenant

of good faith and fair dealing, trespass to chattels, conversion, unjust enrichment, trademark

infringement and unfair competition. All claims stem from alleged breaches of contract based,

in relevant part, on “disassembling, reverse-engineering, or otherwise replicating, duplicating,

or copying [Larada’s] Device or a component or portion of the Device to create the FloSonix

device.” 2

        The Court’s December 6, 2018 Scheduling Order set the deadline for the parties to file

motions to amend pleadings and add parties for April 1, 2019. 3 PHS filed its Answer and

Counterclaims on September 21, 2018. 4 Larada moved to dismiss PHS’s counterclaims on


1
  ECF No. 1.
2
  Id. at 2, ¶ 34.
3
  ECF No. 35 at 4.
4
  ECF No. 24.


                                                 1
      Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 4 of 14




November 2, 2018. 5 Following oral argument, the Court permitted PHS to amend its

counterclaims by April 24, 2019. ECF No. 45. On that date, PHS timely filed its Motion for

Leave to Amend its Counterclaim. 6

       The parties then stipulated to extend the time for Larada to oppose PHS’s Motion

because the “parties ha[d] taken to heart the Court’s comments at the April 2, 2019 hearing, and

[were] engaged in good-faith settlement negotiations.” 7 On the day Larada’s opposition would

have been due (i.e., May 22, 2019), the parties stipulated to stay the case to further settlement

discussions, recognizing then that “the deadline for completion of discovery [was] nearing.” 8

On May 23, 2019, the Court stayed this action. 9

       On January 10, 2020, the parties conferred about the Court Clerk’s email request dated

December 30, 2019, seeking an update on the stay. 10 The parties agreed the stay should be

continued an additional sixty days to permit further settlement discussions. 11 On January 23,

2020, PHS tendered an offer to Larada to settle this action and a related patent infringement

action pending before the Western District of North Carolina, styled Larada Sciences, Inc. v.

Pediatric Hair Solutions Corporation, FloSonix Ventures, LLC, case number 3:18-cv-00320-

RJC-DSC, Western District of North Carolina (the “Patent Action”). 12 New counsel for Larada

rejected PHS’s offer and, instead, submitted a proposed amended complaint on February 21,



5
  ECF No. 31.
6
  ECF No. 48.
7
  ECF No. 49 at 2.; see also ECF No. 50.
8
  ECF No. 51 at 3.
9
  See ECF Nos. 52, 64.
10
   Declaration of Sarah E. Elsden (“Elsden Decl.”) at ¶ 2.
11
   Id.
12
   Id. at ¶ 3.


                                                   2
        Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 5 of 14




2020, seeking PHS’s consent to file. 13 PHS did not consent to the proposed amendment. On

March 17, 2020, the Court lifted the stay and set the remaining discovery and pretrial

deadlines. 14

                                   III.    LEGAL STANDARD
         When a party seeks to amend its complaint after the time for amendment under the

Court’s scheduling order has expired, the movant must demonstrate both (1) good cause for

seeking modification under Fed. R. Civ. P. 16(b)(4), and (2) satisfaction of the Rule 15(a)

standard. Birch v. Polaris Indus., Inc., 812 F.3d 1238, 1247 (10th Cir. 2015). If, however, the

movant fails to show good cause under Rule 16(b), there is no need for the Court to move on to

the second step of the analysis, namely, whether the movant has satisfied the requirements of

Rule 15(a). Gorsuch, Ltd., B.C. v. Wells Fargo Nat’l Bank Ass’n, 771 F.3d 1230, 1242 (10th Cir.

2014) (declining to reach Rule 15(a) issue where movants could not show good cause under Rule

16(b)); Birch, 812 F.3d at 1249 (same).

         Under Rule 16(b)(4), “the movant [must] show the scheduling deadlines cannot be met

despite the movant’s diligent efforts.” Birch, 812 F.3d at 1247 (quotations and alterations

omitted); see also Gorsuch, 771 F.3d at 1240. Importantly, “[i]f the plaintiff knew of the

underlying conduct but simply failed to raise tort claims, however, the claims are barred.” Birch,

812 F.3d at 1247.

         In the event the court reaches the second step of the analysis (i.e., Rule 15(a)), courts may

deny leave to amend based on “undue delay, undue prejudice to the opposing party, bad faith or

dilatory motive, failure to cure deficiencies by amendments previously allowed or futility of

13
     Id. at ¶ 4.
14
     ECF No. 66.


                                                   3
     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 6 of 14




amendment.” Bylin v. Billings, 568 F.3d 1224, 1229 (10th Cir. 2009).

                                       IV.    ARGUMENT
       1.      Larada has failed to satisfy the Rule 16 good cause standard.

       Larada sought leave to amend its Complaint nearly one year after the deadline to file

motions to amend pleadings and add parties expired. 15 Specifically, Larada seeks to (1) add three

new parties: Sheila Fassler, R.N., John Fassler, M.D., and FloSonix Ventures, LLC. Sheila

Fassler, R.N. is the sole owner of PHS and John Fassler, M.D. is its Medical Director and Chief

Financial Officer. 16 FloSonix Ventures, LLC is a Wyoming limited liability company formed on

May 4, 2017. Mrs. Fassler is FloSonix Ventures, LLC’s sole owner and member. 17

       Larada also seeks leave to (2) amend its breach of contract and unjust enrichment claims

against PHS; (3) assert a new claim for breach of a lease agreement against Mrs. Fassler; (4)

assert a new claim for breach of a consulting agreement against Dr. Fassler; (5) assert a new

claim for misappropriation of trade secrets against all proposed defendants; (6) assert a new

declaratory judgment claim against PHS; and (7) broaden its trespass to chattels, conversion, and

unjust enrichment claims to apply to all proposed new defendants. Larada also proposes

skyrocketing its claimed damages from $84,810 to $15,000,000. 18 Larada has not addressed Rule

16’s good cause standard, nor shown the scheduling deadline could not be met despite its diligent

efforts. 19 Gorsuch, 771 F.3d at 1241. The Motion is not well founded and should be denied.


15
   Compare ECF No. 61 with ECF No. 35 at 4.
16
   ECF No. 42 at 14, ¶ 13; See Exhibit 1, Declaration of Sheila Fassler (“Fassler Decl.”) at ¶ 2.
17
   Ex. 1, Fassler Decl. at ¶ 3.
18
   ECF Nos. 61-2 at 18-29.
19
   Larada erroneously and exclusively relies on Rules 15(a) and 21. ECF No. 61 at 3-4 (citing U.S. ex
rel. Precision Co. v. Koch Indus., Inc., 31 F.3d 1015, 1018 (citation omitted). The amendment sought
in Koch Indus. was made before defendants had filed a responsive pleading and was therefore
                                                                                         (continued...)


                                                 4
     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 7 of 14




       2.      This Court should not allow Larada to benefit from making new allegations
               of which it had knowledge of long before the deadline lapsed.
       Larada argues it should be permitted to amend because it received “new” information.

Larada does not, however, explain when or how it received that information, and most of its

proposed claims are unrelated to the bare information it claims it recently learned. Larada’s

assertion that this information is new is directly contradicted by early 2017 communications, its

own court filings, and discovery exchanged in this action long ago.

       Well before Larada initiated this lawsuit, as early as August 2017, Larada developed its

theory that the Fasslers were providing heated air lice treatments using a device, similar to

Larada’s, that PHS’s website referred to as the FloSonix device, in direct competition with

Larada. 20 Larada claimed then that PHS’s website “includes several claims regarding the

effectiveness of PHS’s heated air treatment that appear to be based on the AirAllé’s proven and

documented effectiveness.” Yet, Larada waited until now to allege the Fasslers, PHS, and

FloSonix Ventures, LLC copied Larada’s device, misappropriated its technical know-how, and

used Larada’s confidential information “to develop FloSonix’s business strategies”. 21

       Larada claims its proposed amendment provides new information regarding “the intent of

PHS and the Fasslers to misappropriate Larada’s information years earlier than previously

known” and new information reflecting that they provided Larada’s device to third parties for

disassembling and reverse engineering. 22 Larada contends when it filed its Complaint, it did not


________________________
(...continued)
allowed as a matter of right under Rule 15(a). To the contrary, PHS has filed an answer and the
deadline for Plaintiff to amend has long passed.
20
   Elsden Decl., ¶ 5, Ex. A (August 11, 2017 letter).
21
   ECF No. 61-2 at 21-22, ¶¶ 94, 100.
22
   ECF No. 61 at 4.


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     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 8 of 14




know PHS intended to market the FloSonix device nationwide as opposed only at PHS’s various

clinics around the nation. 23 Larada does not explain when it learned the new facts on which it

now relies. It omits this critical information because Larada had all the information it needed to

assert its proposed new claims long before the deadline lapsed.

       Indeed, Larada’s Complaint, filed in July 2018, alleges “PHS disassembled, reverse-

engineered, or otherwise replicated, duplicated, or copied [Larada’s] Device to create a

competing product called the FloSonix device, in violation of Section 10 of the License

Agreements.” 24 One month earlier, Larada filed a separate Complaint in the Patent Action and

alleged PHS and FloSonix Ventures, LLC “copied [Larada’s] device” and “through the sale of

the Flosonix device and instruction and training of customers, contribute[d] to and induce[d]

infringement of the Patents-in-Suit.” 25 Larada further alleged PHS and FloSonix Ventures, LLC

made, used, imported into the United States, offered for sale, or sold the FloSonix device. 26

Larada did not narrowly limit its allegations in the Patent Action to marketing the FloSonix

device at only PHS’s clinics. In other words, in mid-2018, Larada knew the underlying facts for

the breach of contract claims and misappropriation of trade secret claim it now seeks to add and

the parties involved, but failed to timely amend.

       Larada also contends it did not know when it filed its Complaint in this action that PHS

shared Larada’s device with an engineering firm to reverse engineer. Even assuming the veracity

of that allegation, knowledge of an engineer’s participation in the alleged reverse engineering

was not needed to assert individual breaches of contract claims or misappropriation of trade
23
   Id at 4-5.
24
   ECF No. 2 at 7, ¶ 28; see also 8, ¶ 34.
25
   Elsden Decl., ¶ 6, Ex. B at ¶ 39 (Patent Action Compl.) (emphasis added).
26
   Id.at ¶ 10 (Patent Action Compl.).


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     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 9 of 14




secrets claims against the proposed defendants when it has alleged reverse engineering all along.

Larada has always claimed FloSonix Ventures, LLC and PHS misappropriated Larada’s

confidential patented materials, reverse engineered Larada’s device, and marketed and sold the

competing FloSonix device in the United States. Larada should not be permitted to allege new

claims, when it has known about and alleged facts in attempt to support those claims since at

least mid-2018.

       For example, Larada has always known the nature of the relationship between the

proposed defendants and PHS. In fact, Larada’s Complaint in the Patent Action alleges

“Defendant FloSonix shares officers and employees with Defendant PHS, and thus has

knowledge of the Patents-in-Suit and that the use of the FloSonix device as instructed constitutes

infringement of the methods claimed therein.” 27 Moreover, Larada’s argument that it did not

know their intent to misappropriate Larada’s information also falls flat in light of its “willfull and

reckless disregard” allegations Larada made in the Patent Action. 28

       On April 1, 2019—coincidentally, the same date the deadline expired to amend pleadings

and add parties in this case—Larada filed a claim construction brief in the Patent Action further

asserting that PHS and FloSonix Ventures, LLC together built the competing infringing device

and marketed their device using the treatment efficacy statistics that had originally been

determined by researchers using Larada’s AirAllé device. 29 Larada unequivocally knew prior to

the day of the deadline in this action, the alleged facts that support its proposed new claims.

       Again, Larada does not explain when or how it obtained its “new” information or, more
27
   Elsden Decl., Ex. B at ¶ 40; see also ¶¶ 30-35.
28
   Id. at ¶¶ 46, 53, 60, 69 (asserting PHS’s and FloSonix Ventures, LLC’s acts were “in willfull and
reckless disregard” of Larada’s rights).
29
   Elsden Decl, ¶ 7, Ex. C at 2-3.


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     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 10 of 14




importantly, why it could not move to amend before the April 1, 2019 deadline. Assuming

Larada learned the information during discovery, the discovery exchanged between the parties

occurred well before the deadline lapsed to add new claims and parties. The timing of PHS’s

disclosures, submitted prior to the filing of Larada’s Motion, follows: 30

           •   PHS’s 1st document production                  12/04/2018
           •   PHS’s 2nd document production                  12/18/2018
           •   PHS’s 3rd document production                  03/14/2019
           •   Deadline to add parties/add claims             04/01/2019
           •   Larada’s Motion for Leave to Amend             02/20/2020
       Even assuming Larada learned the full scope of PHS’s marketing plans or that a third

party reverse engineered Larada’s device or that all proposed defendants misappropriated

Larada’s confidential information, it would have gleaned that information prior to the deadline to

amend. Larada could have, but did not, seek leave to amend at that time or move to extend the

deadline. Larada also did not serve any written discovery on PHS in this action. 31 Instead, Larada

waited until it obtained new counsel nearly a year later to raise new claims, increase its damages,

and add new parties based on alleged conduct Larada has known about for years. Larada has not

shown good cause for modifying the scheduling order, nor has it shown that it made diligent

efforts to meet the deadline. In fact, Larada offers no supported explanation for its belated

motion. “[C]arelessness is not compatible with a finding of diligence” and Larada offers no

reason for this Court to grant relief under the circumstances. Tesone v. Empire Mktg. Strategies,

942 F.3d 979, 989 (10th Cir. 2019) (citation omitted).


30
  Elsden Decl., ¶ 8.
31
  Larada served discovery requests to PHS and FloSonix Ventures, LLC in the Patent Action
seeking, in part, documents relating to reverse-engineering of Larada’s devices. The parties agreed
documents produced in either case may be used by the requesting party in both cases. Id. at ¶ 9.


                                                  8
     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 11 of 14




       3.      Even if Larada could show good cause why it failed to meet the deadline, the
               Court should also deny leave to amend under Rule 15 based on undue delay,
               serious prejudice, and the futility of the proposed claims.
       Given Larada’s failure to meet the Rule 16(b)(4) standard, the Court need not consider

whether Larada meets the requirements for leave to amend under Rule 15(a). However, even if

the Court conducts a Rule 15(a) analysis, Larada’s Motion fails due to undue delay, prejudice to

PHS, and futility of its proposed amendments. See Bylin, 568 F.3d at 1229.

       In determining whether a movant unduly delayed in filing its motion to amend, courts

primarily look to whether the movant has an adequate explanation for the delay. Frank v. U.S.

West, Inc., 3 F.3d 1357, 1365-66 (10th Cir. 1993)). The rules governing a motion to amend apply

with equal force to a motion to add a party. Id. “[U]ntimeliness alone is a sufficient reason to

deny leave . . . especially when the party filing the motion has no adequate explanation for the

delay.” Id. (collecting citations omitted).

       Larada has alleged since mid-2018 that PHS and FloSonix Ventures, LLC allegedly

copied Larada’s confidential information to create the FloSonix device. Larada could have

amended its Complaint a year ago, but offers no justification for its delay. See Frank, 3 F.3d at

1365 (upholding district court’s denial of leave to amend where plaintiffs moved to amend four

months after the deadline and because plaintiffs knew or should have known long before the

deadline passed of the role played by the party they wanted to add). Larada’s undue delay tips

heavily in favor of denying its late request to amend.

       Larada wishes to start over with brand new counsel and a brand new case, composed of

new claims and three new defendants, near the close of fact discovery and after the deadline to

amend has long passed. With 45 days left before the discovery cut-off and expert disclosures due

one month later in a case that has been pending since August 2018, allowing Larada to benefit

                                                 9
        Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 12 of 14




from its dilatory conduct would severely prejudice Defendants and increase litigation costs. The

parties would need to engage in further motion practice to adjudicate whether Larada’s proposed

claims are subject to dismissal, and the parties would certainly need to extend all discovery and

pretrial deadlines. Larada should not be permitted to amend when it has sat on its hands for

years. The prejudice to PHS is severe and warrants denial of Larada’s request.

          Moreover, “[a] proposed amendment is futile if the complaint, as amended, would be

subject to dismissal for any reason . . . .” Watson v. Beckel, 242 F.3d 1237, 1239-40 (10th Cir.

2001). Here, the Court does not have personal jurisdiction over FloSonix Ventures, LLC, a

Wyoming entity that conducts no business in or directed at Utah consumers, among other

reasons. 32 Moreover, the information the Fasslers’ allegedly copied occurred years after the 2010

Lease Agreement and 2015 Consulting Agreement were superseded or expired, barring Larada’s

contract claims. Third, the alleged trade secrets related to the patented device technology and

know-how are widely known. There is nothing secretive about the information Larada shares

with its other licensees and the public.

          For all these reasons, the Court should deny Larada’s motion for leave to amend.

                                       V.     CONCLUSION
          PHS respectfully requests the Court deny Larada’s Motion because Larada was aware of

the facts on which its proposed amendment is based for at least twelve months—and at most

since the filing of its Complaint—prior to seeking amendment.

///




32
     Ex. 1, Fassler Decl. at ¶¶ 3-7.


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 Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 13 of 14




DATED this 30th day of March, 2020.

                                      LEE & HAYES P.C.

                                      /s/ Sarah E. Elsden
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                                        11
     Case 2:18-cv-00551-RJS-PMW Document 68 Filed 03/30/20 Page 14 of 14




                                CERTIFICATE OF SERVICE

       I certify I am employed by the law firm of Lee & Hayes P.C., 601 W. Riverside, Suite

1400, Spokane, Washington 99201, and pursuant to Federal Rules of Civil Procedure Rule 5(b),

a true and correct copy of the foregoing Defendant’s Opposition to Plaintiff’s Motion for

Leave to File First Amended Complaint, to Add Defendants, and to Lift Stay was delivered

to the following this 30th day of March, 2020, by:

       [ ] Hand Delivery
       [ ] Depositing the same in the U.S. Mail, postage prepaid
       [X] CM/ECF System
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                                               12
